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                 IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,     )           CRIM. NO. 13-00514 SOM
                              )           CRIM. NO. 13-00653 SOM
          Plaintiff,          )
                              )           ORDER DENYING DEFENDANT JOHN
     vs.                      )           PENITANI'S MOTIONS TO
                              )           RECONSIDER SENTENCE
JOHN PENITANI, et al.         )
                              )
          Defendants.         )
_____________________________ )
UNITED STATES OF AMERICA,     )
                              )
          Plaintiff,          )
                              )
     vs.                      )
                              )
JOHN PENITANI, et al.         )
                              )
          Defendants.         )
_____________________________ )

                       ORDER DENYING DEFENDANT
            JOHN PENITANI'S MOTIONS TO RECONSIDER SENTENCE

            On July 20, 2015, in a consolidated hearing held in

Criminal Nos. 13-514 SOM and 13-653 SOM, Defendant John Penitani

was sentenced to 168 months in custody.           He had earlier pled

guilty pursuant to a plea agreement to drug offenses involving

multiple defendants.       Judgment was entered in both cases on July

24, 2015.

            In Criminal No. 13-653, Penitani filed a pro se Notice

of Appeal on July 29, 2015.       After this court noted in a minute

order that counsel had not moved to withdraw and that no appeal

had been filed in the companion case, Penitani filed a pro se

Notice of Appeal in Criminal No. on August 7, 2015.
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            Also on August 7, 2015, half an hour before filing his

pro se Notice of Appeal in Criminal No. 13-514, Penitani filed in

that action a motion asking this court to reconsider his

sentence.    It is that motion that this court now turns to.                This

court also turns to an identical pro se reconsideration motion

filed in Criminal No. 13-653 on August 7, 2015, nine days after

Penitani filed his Notice of Appeal in that case.

            The Ninth Circuit directed counsel to clarify his

status, and counsel then filed a motion to withdraw in the Ninth

Circuit.    Withdrawal was allowed, and new counsel was appointed

to pursue the appeals.      The pro se reconsideration motion,

however, remained pending in this court, and Penitani's

withdrawing counsel informed this court that Penitani would

pursue that motion on a pro se basis.

            This court is without authority to grant relief to

Penitani, even assuming this court discerned any reason to do so,

which this court is not saying it does.

            First, the very sentence Penitani challenges is the

subject of his pending appeals.         One of the Notices of Appeal was

filed nine days before the reconsideration motion was filed.

This court may not review a sentence that is the subject of a

pending appeal.    See United States v. Ortega-Lopez, 988 F.2d 70,

71 (9th Cir. 1993).      Although the second Notice of Appeal was

filed after the reconsideration motion filed in Criminal No.


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13-514, the second appeal was from the same sentence of 168

months, running concurrently with the 168 months imposed in

Criminal No. 13-653.

           Even if no appeal were pending, the reconsideration

motions were untimely.      They were filed more than fourteen days

after the court orally imposed the sentences in both cases on

July 20, 2015.    As amended in 2009, Rule 35(a) of the Federal

Rules of Criminal Procedure limits any correction of a sentence

to the period "within 14 days after sentencing."                  Penitani may

have mistakenly believed the deadline in the rule was fourteen

days from the entry of judgment on July 24, 2015.                  See United

States v. Aguirre, 214 F.3d 1122, 1123 (9th Cir. 2000)(construing

older version of Rule 35, which had seven-day deadline, and

noting that deadline ran from oral imposition of sentence).

           Not only is it too late to grant Penitani's

reconsideration motions, they do not fall within the subject

matter limitations for such motions.             A sentencing judge does not

have unfettered power to change a sentence.                  Rule 35(a) says only

that "the court may correct a sentence that was imposed as a

result of arithmetical, technical, or other clear error."

Penitani's motions argue that his assistance was worth more than

he got credit for and the Government led him to believe that he

would get a sentence below ten years, which the Government




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denies.   Penitani's allegations do not assert errors that are

arithmetic, technical, or clear.

           This court is also concerned that Penitani is

simultaneously proceeding in the Ninth Circuit with counsel and

in this court pro se, raising the possibility that he will take

inconsistent positions.

           Finally, in asserting that the Government has reneged

on a promise to seek a sentence below ten years, the

reconsideration motions are raising an argument that was not

raised earlier.    Penitani gives no reason for his delay.                In

fact, the reconsideration motions themselves indicate that

Penitani knew of the allegedly breached promised at the time of

sentencing.

           For all of the reasons set forth above, this court

denies the motions without reaching their merits.

           IT IS SO ORDERED.

           DATED: Honolulu, Hawaii, September 21, 2015.




                                   /s/ Susan Oki Mollway
                                  Susan Oki Mollway
                                  Chief United States District Judge


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TO RECONSIDER SENTENCE



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